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                  EXHIBIT A
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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 PENGUIN RANDOM HOUSE LLC, et al.,

       Plaintiffs,
 v.                                             Case No. 6:24-cv-01572-CEM-RMN

 BEN GIBSON, in his official capacity
 as Chair of the Florida State Board
 of Education, et al.,

       Defendants.
 ___________________________

                           DECLARATION OF SKIP DYE

       I, Skip Dye, declare that the following facts are true and correct to the best of

 my knowledge and belief:

       1.     I am the Senior Vice President, Library Sales, and Digital Strategy for

 Penguin Random House. I have spoken to several educators and librarians about the

 provisions of Section 1006.28 that requires the removal of school library books that

 contain any description of sexual conduct or any so-called “pornographic” content

 (the “Challenged Provisions”), hearing their stories of confusion, frustration, and fear.

 The Challenged Provisions have created stigma and self-censorship among teachers

 and librarians, breaking the link between authors and their readers.

       2.     My personal story highlights the importance of libraries in providing

 access to books. I come from a family that could not afford to purchase books and

 that relied on the library as the only means to access books and ideas. Teachers played

 a significant role in introducing me to new ideas and new experiences, and in
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 broadening my understanding of others. This underscores the importance of the work

 I do at Penguin Random House to ensure that books are available in libraries and that

 educators and librarians have the freedom to choose books that meet the needs and

 abilities of their students. There are others like me, who come from families that could

 not afford to purchase books. If we did not have the freedom to read whatever we

 chose, we would have been denied the opportunity to access a wide range of ideas and

 stories, much less the opportunity to become the people we are today. The Challenged

 Provisions and other similar laws that restrict access to books based on vague,

 inflexible standards threaten democracy and constitutional rights and harm young

 people who rely on libraries as their only means to access books and ideas.

       3.     Penguin Random House creates books for everyone. This is our mission.

 We are proud to publish a vast range of ideas and stories from across the spectrum of

 identities, viewpoints, and perspectives.       Penguin Random House publishes an

 unrivaled mix of great literature written by more than 80 Nobel Laureates and

 hundreds of the world’s most widely read adult and children’s novelists and nonfiction

 authors, such as Toni Morrison, President George W. Bush, William Faulkner, Pope

 Francis, Michelle Obama, Dan Brown, John Grisham, Ann Coulter, Roald Dahl,

 David Brooks, and Dr. Seuss.

       4.     As a publisher, we commission books based on ideas presented by

 authors. Once that idea finds form in a final manuscript, we begin the work of finding

 readers for it. Librarians and teaching professionals are the best and most skillful

 connectors in matching books to students. We work with the library community
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 closely to ensure that they can effectuate their mission of curating quality titles that are

 calibrated to the specific individuals and communities they serve.

        5.     The Challenged Provisions and other similar laws threaten to chill

 authors’ creative processes.      For fear of being stigmatized, authors may decide,

 consciously or subconsciously, not to include language that may implicate the

 Challenged Provisions. In that way, the effects of the Challenged Provisions run

 deeper and threaten more harm than is suggested by the lists of books that have been

 identified for removal.

        6.     There is no universal, clear-cut way to categorize a book. Students of the

 same age differ in their ability to understand based on their reading level, cognitive

 development, and life experience. Penguin Random House respects educators and

 librarians who are trained professionals to select books based on these factors and to

 guide students in their independent reading.

        7.     Penguin Random House does not publish pornography. The titles that

 have been removed due to the Challenged Provisions include the most enduring

 classics in the history of literature, including the works of Toni Morrison, George

 Orwell, and William Faulkner.           These are works whose literary acclaim and

 commercial appeal are without equal. They are not books about sex; they are books

 about the entire range of human experience. Reducing them to one passage or one

 topic ignores the value of these works. There is no book we carry for which we do not

 stand behind the literary, scientific, artistic, or political value.



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        8.     Penguin Random House is committed to publishing books for all readers,

 representing a wide range of ideas and stories from diverse perspectives. Students are

 an important audience for many of our books, and school libraries are a key forum for

 those students to access our works. The Challenged Provisions prevent us from

 carrying out our mission of putting our authors in communication with readers by

 imposing a state blockade. We are unable to sell many titles to school districts because

 of the Challenged Provisions, and the stigma attached to them travels even beyond the

 school setting. This does not just reduce readership for the specific books being

 removed; it also reduces readership of authors’ other works. The increased burden of

 having to go to a separate public library or having to purchase a book also means many

 students will lose access to our works. Our books often appeal to students at particular

 times in their lives, so the opportunity to speak to them is lost if they cannot find our

 books in their school library. Librarians are often the greatest champions of our works,

 which means that critical voices in the literary marketplace are increasingly missing.

        9.     Penguin Random House; Hachette Book Group; HarperCollins

 Publishers LLC; Macmillan Publishing Group, LLC; and Simon & Schuster, LLC

 (collectively the “Publisher Plaintiffs”) are the five largest trade publishers in the world.

 Many books published by the Publisher Plaintiffs have been removed or identified for

 removal from school libraries in Florida under the Challenged Provisions, which limits

 the audience for the Publisher Plaintiffs’ books.




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       10.      The books described in Plaintiffs’ Motion For Summary Judgment were

 reviewed under my direction. To my knowledge and belief, all the descriptions are

 accurate.

       11.      The Publisher Plaintiffs have published many important books that have

 been removed from school libraries in Florida due the Challenged Provisions,

 including the following:

             • The Color Purple, written by Alice Walker and published by Penguin
               Random House;

             • The Hate U Give, written by Angie Thomas and published by
               HarperCollins Publishers, LLC;

             • A Clockwork Orange, written by Anthony Burgess and published by W.W.
               Norton;

             • Half of a Yellow Sun, written by Chimamanda Ngozi Adichie and
               published by Penguin Random House;

             • Cloud Atlas, written by David Stephen Mitchell and published by Penguin
               Random House;

             • The Splendid and the Vile, written by Erik Larson and published by
               Penguin Random House;

             • I am Not Your Perfect Mexican Daughter, written by Erika Sanchez and
               published by Penguin Random House;

             • The Freedom Writers Diary: How a Teacher and 150 Teens Used Writing to
               Change Themselves and the World Around Them, written by Erin Gruwell
               and published by Penguin Random House;

             • On the Road, written by Jack Kerouac and published by Penguin
               Random House;

             • You Too? 25 Voices Share Their #MeToo Stories, edited by Janet Gurtler
               and published by HarperCollins Publishers, LLC;

             • Nineteen Minutes, My Sister’s Keeper, The Tenth Circle, Handle with Care,
               Change of Heart, House Rules, Lone Wolf, Mercy, Perfect Match, Plain Truth,
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            Salem Falls, Second Glance, The Storyteller, Vanishing Act, House Rules, and
            Sing You Home, written by Jodi Picoult and published by Simon &
            Schuster, LLC;

         • Paper Towns and Looking For Alaska, written by John Green and published
           by Penguin Random House;

         • How the Garcia Girls Lost Their Accent, written by Julia Alvarez and
           published by Hachette Book Group;

         • The Kite Runner, written by Khaled Hosseini and published by Penguin
           Random House;

         • Slaughterhouse-Five, written by Kurt Vonnegut and published by Penguin
           Random House;

         • Shout, written by Laurie Halse Anderson and published by Macmillan
           Publishing Group, LLC;

         • Last Night At The Telegraph Club, written by Malinda Lo and published by
           Penguin Random House;

         • The Handmaid’s Tale, written by Margaret Atwood and published by
           HarperCollins Publishers, LLC;

         • This is Where it Ends, written by Marieke Jijkamp and published by
           Sourcebooks;

         • Kaffir Boy: The True Story of a Black Youth’s Coming of Age in Apartheid South
           Africa, written by Mark Mathabane and published by Simon & Schuster,
           LLC;

         • Native Son, written by Richard Wright and published by HarperCollins
           Publishers, LLC;

         • Water for Elephants, written by Sara Gruen and published by Hachette
           Book Group;

         • Herzog, written by Saul Bellow and published by Penguin Random
           House;

         • Beloved, Song of Solomon, and The Bluest Eye, written by Toni Morrison
           and published by Penguin Random House; and


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                  • Homegoing, written by Yaa Gyasi and published by Penguin Random
                    House.

            12.     A true and correct copy of the following news article is attached hereto

 as Exhibit A-1: C.A. Bridges, DeSantis bristles at ‘book banning hoax,’ fights ‘myths’ with

 ‘facts.’     Which ones are myths?,         The Palm Beach Post (March 10, 2023),

 https://www.palmbeachpost.com/story/news/education/2023/03/10/desantis-

 fights-book-banning-backlash-florida/69990134007/.

            13.     A true and correct copy of the following press release from the Executive

 Office of the Governor is attached hereto as Exhibit A-2: Governor Ron DeSantis

 Debunks Book Ban Hoax (March 8, 2023), https://www.flgov.com/eog/news

 /press/2023/governor-ron-desantis-debunks-book-ban-hoax.

            14.     A true and correct copy of the following news article is attached hereto

 as Exhibit A-3: Douglas Soule, Ana Goñi-Lessan, and Jeanine Santucci, To be or not

 to be on the shelf? New Florida school book law could restrict even Shakespeare, USA Today

 (July 15, 2023), https://www.usatoday.com/story/news/nation/2023/07/15/law-

 limits-florida-school-books/70414412007/.

            15.     A true and correct copy of the following news article is attached hereto

 as Exhibit A-4: Leslie Postal, Orange schools target classics, popular novels to keep sex out of

 class, Orlando Sentinel (July 3, 2023), https://www.orlandosentinel.com/2023/07/03

 /orange-schools-target-classics-popular-novels-to-keep-sex-out-of-class/.

            16.     A true and correct copy of Pinellas County Schools’ School and

 Classroom Library Material Student Access Form (2-3186), which permits parents of


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 Pinellas County Schools students to regulate their children’s access to school library

 books, is attached hereto as Exhibit A-5.

       17.    A true and correct copy of Polk County Public Schools’ News Release

 describing its library opt-out process is attached hereto as Exhibit A-6 and is available

 at https://www.polkschoolsfl.com/news/library_opt-out_system_reopens_jan_6-17.

       18.    A true and correct copy of the May 24, 2024 Florida Department of

 Education Library Media and Instructional Materials Training, effective July 2024,

 Reference Ref-16709 is attached hereto as Exhibit A-7 and is available at

 https://flrules.org/gateway/reference.asp?No=Ref-16709.

       I declare under penalty of perjury that the foregoing is true and correct.



        Dated: Februrary 27, 2025
                  New York, NY                   Skip Dye




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